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                                                                                           FILED
                          UNITED STATES DISTRICT COURT FOR THE                           AUG 17 2022
                           NORTHERN DISTRICT OF WEST VIRGINIA
                                                                                    U.S. DISTRICT COURT-WVND
                                                                                      CLARKSBURG, WV 26301
   UNITED STATES OF AMERICA,

   v.                                                Criminal No.      1:22-CR- SI

   FOTIOS GEAS, aka “FREDDY,”                        Violations:       18 U.S.C.   §2
   PAUL J. DECOLOGERO, aka “PAULY,”                                    18 U.S.C.   § 7(3)
   and                                                                 18 U.S.C.   § 113(a)(6)
   SEAN MCKINNON,                                                      18 U.S.C.   § 1001(a)(2)
                                                                       18 U.S.C.   § 1111(a) & (b)
                                Defendants.                            18 U.S.C.   § 1118(a)



                                           INIMCTMENT

        The Grand Jury charges that:

                                              COUNT ONE

                              (Conspiracy to Commit First Degree Murder)

        On or about October 30, 2018, in Preston County in the Northern District of West Virginia, the

defendants, FOTIOS GEAS, aka “FREDDY,” PAUL J. DECOLOGERO, aka “PAULY,” and

SEAN MCKINNON, did knowingly and willfully conspire, confederate and agree and have a tacit

understanding with each other and with other persons, to commit an offense against the United States,

to wit: to violate Title 18, United States Code, Sections 2, 7(3), and 1111(a) & (b). It was a purpose and

object of the conspiracy knowingly and intentionally for FOTIOS GEAS, aka “FREDDY,” PAUL J.

DECOLOGERO, aka “PAULY,” and SEAN MCKINNON to murder inmate James “Whitey”

Bulger, in violation of Title 18, United States Code, Sections 2, 7(3), and 1111(a) & (b) as charged in

Count Two of the Indictment. To effect a purpose and object ofthe conspiracy, the defendants, FOTIOS

GEAS, aka “FREDDY,” PAUL J. DECOLOGERO, aka “PAULY,” and SEAN MCKINNON did

complete and cause to be completed, in the Northern District of West Virginia, any overt act, including:

(A) FOTIOS GEAS, aka “FREDDY,” and PAUL J. DECOLOGERO, aka “PAULY,” struck inmate
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James “Whitey” Bulger in the head multiple times, (B) SEAN MCKINNON acted as a lookout for

FOTIOS GEAS, aka “FREDDY,” and PAUL J. DECOLOGERO, aka “PAULY,” and (C) other

overt acts; in violation of Title 18, United States Code, Section 371.
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                                             COUNT TWO

                               (Aiding and Abetting First Degree Murder)

        On or about October 30, 2018, in Preston County in the Northern District of West Virginia,

defendants FOTIOS GEAS, aka “FREDDY,” and PAUL J. DECOLOGERO, aka “PAULY,” at

United States Penitentiary Hazelton, within the special maritime and territorial jurisdiction of the United

States, on land acquired for the use of the United States and under its jurisdiction, aiding and abetting

each other, willfully, deliberately, maliciously, and with premeditation and malice aforethought, did

unlawfully kill James “Whitey” Bulger, by repeatedly striking him in the head, in violation of Title 18,

United States Code, Sections 2, 7(3), and 1111(a) & (b).
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                                           COUNT TRREE

                         (Murder by Federal Prisoner Serving a Life Sentence)

       On or about October 30, 2018, in Preston County in the Northern District of West Virginia,

defendant FOTIOS GEAS, aka “FREDDY,” while confined in a federal correctional institution,

namely United States Penitentiary Hazelton, while under a sentence for a term of life imprisonment, and

within the special maritime and territorial jurisdiction of the United States, on land acquired for the use

of the United States and under its jurisdiction, did unlawfully kill James “Whitey” Bulger with malice

aforethought, which killing is a murder as defined in Title 18, United States Code, Section 1111(a), in

violation of Title 18, United States Code, Sections 7(3) and 1118(a).
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                                             COIH~T FOUR

                               (Assault Resulting in Serious Bodily Injury)

        On or about October 30, 2018, in Preston County in the Northern District of West Virginia, at

United States Penitentiary Hazelton, within the special maritime and territorial jurisdiction of the United

States, on land acquired for the use of the United States and under its jurisdiction, defendants FOTIOS

GEAS, aka “FREDDY,” and PAUL J. DECOLOGERO, aka “PAULY,” did knowingly and

intentionally assault James “Whitey” Bulger resulting in serious bodily injury to James “Whitey” Bulger,

in violation of Title 18, United States Code, Sections 7(3) and 1 13(a)(6).
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                                                COIJNT FIVE

                                      (False Statement to Federal Agent)

        On or about October 30, 2018, in Preston County, in the Northern District of West Virginia, in a

matter within the jurisdiction of the Federal Bureau of Investigations [“FBI”], an agency within the

executive branch of the Government of the United States, defendant SEAN MCKINNON did

knowingly and willfrilly make materially false, fictitious, fraudulent statements and representations to

FBI Special Agent Fred Aldridge and FBI SA Peter Olinits, that is the defendant stated:

        a. He was not aware what happened to inmate James “Whitey” Bulger on October 30, 2018, in

               the F-i Unit at United States Penitentiary Hazelton;

        b. He spoke with inmates Fotios Geas and Paul J. DeCologero on the morning of October 30,

               2018, but did not discuss inmate James “Whitey” Bulger;

        c. He knew nothing about an incident involving inmate James “Whitey” Bulger on October 30,

               2018;

when the defendant then and there knew that Fotios Geas and Paul J. DeCologero assaulted and murdered

inmate James “Whitey” Bulger in the F-i Unit at United States Penitentiary Hazelton on October 30,

2018, and the defendant met with and discussed the assault and murder of inmate James “Whitey” Bulger

with Fotios Geas and Paul J. DeCologero; in violation of Title 18, United States Code, Section

1001 (a)(2).

                                                        A true bill,

                                                        /5/
                                                        Foreperson


Is!
WILLIAM IHLENFELD
United States Attorney

Randolph J. Bernard                                   Brandon S. Flower
First Assistant United States Attorney                Assistant United States Attorney
